         Case 19-67578-pwb
 Fill in this information to identify the case:
                                               Doc       Filed 07/20/22 Entered 07/20/22 12:21:29                     Desc Main
                                                         Document      Page 1 of 4
B 10 (Supplement 2) (12/11)           (post publication draft)
 Debtor 1              __________________________________________________________________
                        Sheena Blackwell Young

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                         ________________________________BBBBBBBBB
 United States Bankruptcy Court for the: Northern District Of Georgia

 Case number            ___________________________________________
                         19-67578




Official Form 410S2
1RWLFHRI3RVWSHWLWLRQ0RUWJDJH)HHV([SHQVHVDQG&KDUJHV                                                                         12/1

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.
File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002. 1.



 Name of creditor: _______________________________________
                   Truist Bank                                                             Court claim no. (if known): __________________
                                                                                                                       17


 Last 4 digits of any number you use to
 identify the debtor’s account:                           ____
                                                          5    ____
                                                               6    ____
                                                                    0    ____
                                                                         0


 Does this notice supplement a prior notice of postpetition fees,
 expenses, and charges?
 
 ✔      No
       Yes. Date of the last notice: ____/____/_____


 3DUW        ,WHPL]H3RVWSHWLWLRQ)HHV([SHQVHVDQG&KDUJHV

 ,WHPL]HWKHIHHVH[SHQVHVDQGFKDUJHVLQFXUUHGRQWKHGHEWRU¶VPRUWJDJHDFFRXQWDIWHUWKHSHWLWLRQZDVILOHG'RQRWLQFOXGHDQ\
 HVFURZDFFRXQWGLVEXUVHPHQWVRUDQ\DPRXQWVSUHYLRXVO\LWHPL]HGLQDQRWLFHILOHGLQWKLVFDVH,IWKHFRXUWKDVSUHYLRXVO\
 DSSURYHGDQDPRXQWLQGLFDWHWKDWDSSURYDOLQSDUHQWKHVHVDIWHUWKHGDWHWKHDPRXQWZDVLQFXUUHG

      Description                                                        Dates incurred                                     Amount

  1. Late charges                                                        _________________________________            (1)   $ __________
  2. Non-sufficient funds (NSF) fees                                     _________________________________            (2)   $ __________
  3. Attorney fees                                                       _________________________________            (3)   $ __________
  4. Filing fees and court costs                                         _________________________________            (4)   $ __________
  5. Bankruptcy/Proof of claim fees                                      _________________________________            (5)   $ __________
  6. Appraisal/Broker’s price opinion fees                               _________________________________            (6)   $ __________
  7. Property inspection fees                                            _________________________________            (7)   $ __________
  8. Tax advances (non-escrow)                                           _________________________________            (8)   $ __________
  9. Insurance advances (non-escrow)                                     _________________________________            (9)   $ __________
 10. Property preservation expenses. Specify:_______________             _________________________________           (10)   $ __________
                             (SEE ATTACHED)                               (SEE ATTACHED)                                      110.00
 11. Other. Specify:____________________________________                 _________________________________           (11)   $ __________
 12. Other. Specify:____________________________________                 _________________________________           (12)   $ __________
 13. Other. Specify:____________________________________                 _________________________________           (13)   $ __________
 14. Other. Specify:____________________________________                 _________________________________           (14)   $ __________


 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
 See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.


Official Form 410S2                             Notice of Postpetition Mortgage Fees, Expenses, and Charges
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Debtor 1       Sheena Blackwell Young
              _______________________________________________________                                               19-67578
                                                                                            Case number (if known) _____________________________________
              First Name       Middle Name               Last Name




 3DUW    6LJQ+HUH


  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
  telephone number.
  Check the appropriate box.

      I am the creditor.
  ■
       I am the creditor’s authorized agent.


  I declare under penalty of perjury that the information provided in this claim is true and correct to the best
  of my knowledge, information, and reasonable belief.
                                       Digitally signed by /s/Marlo Light
                                       DN: cn=/s/Marlo Light, o=Truist Bank,
                   /s/Marlo Light      ou=Bankruptcy,

             8   Signature
                                       email=marlo.light@truist.com, c=US
                 __________________________________________________
                                       Date: 2022.07.20 12:00:56 -04'00'                            'DWH



                          0DUOR
                        __________________________________                 /LJKW
                                                                         ____________
 Print:                                                                                     Title    Bankruptcy Processor
                                                                                                    ___________________________
                 First Name                       Middle Name        Last Name



 Company          Truist Bank
                 _________________________________________________________



 Address          Bankruptcy Department. RVW 3034. P.O.Box 27767
                 _________________________________________________________
                 Number                  Street
                 ___________________________________________________
                 Richmond                           VA        23261
                 City                                                State       ZIP Code




 Contact phone   (______)
                  855     _____–
                          223    _________
                                 4641                                                       Email ________________________BBBBBBBBBBBBBBBBBBB
                                                                                                  MortgageBankruptcy@suntrust.com




Official Form 410S2                                 Notice of Postpetition Mortgage Fees, Expenses, and Charges
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                            CERTIFICATE OF SERVICE


  I, 0DUOR/LJKW  , do hereby certify that a true and exact copy of the foregoing Notice of
  Mortgage Post-Petition Fees was served by United States mail and/or electronic filing on
  7//2022, addressed as follows:




  Debtor:                                                                   Debtor's Atty:
  Sheena Blackwell Young                                                    E. L. Clark
  3304 Quick Water Landing NW                                               Clark & Washington, LLC
  Kennesaw, GA 30144                                                        Bldg. 3
  aka Sheena Young                                                          3300 Northeast Expwy.
  aka Sheena Nicole Blackwell                                               Atlanta, GA 30341
  aka Sheena Blackwell
  aka Sheena N Blackwell
  aka Sheena B Young




  Trustee:
  K. Edward Safir
  Standing Chapter 13 Trustee
  Suite 1600
  285 Peachtree Center Ave. NE
  Atlanta, GA 30303

                                  Digitally signed by /s/Marlo Light
  /s/Marlo                        DN: cn=/s/Marlo Light, o=Truist
                                  Bank, ou=Bankruptcy,
                                  email=marlo.light@truist.com,
  Light                           c=US
                                  Date: 2022.07.20 12:00:35 -04'00'



 Bankruptcy Processor for Truist Bank.
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    Group                Specify          Date Incurred              Amount
   11. Other        TS TITLE COSTS          7/6/2022                 110.00
